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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH DAKOTA
                                   CENTRAL DIVISION


DARLENE BIG CROW, as personal                                     CIV. 08-3011
representative for the ESTATE OF SETH BIG
CROW,

              Plaintiff,

       vs.                                                          ANSWER

GEORGE MATHEW, M.D.,

              Defendant.


       Defendant George Mathew, M.D., by his counsel of record, Davenport, Evans, Hurwitz

& Smith, L.L.P., hereby submits his Answer to Plaintiff’s Complaint.

   1. Defendant admits the allegations contained in paragraph 1 of Plaintiff’s Complaint.

   2. Defendant admits the allegations contained in paragraph 2 of Plaintiff’s Complaint.

   3. Defendant lacks knowledge or information sufficient to form a belief about the truth of

       the allegations contained in paragraph 3 of Plaintiff’s Complaint.

   4. Defendant lacks knowledge or information sufficient to form a belief about the truth of

       the allegations contained in paragraph 4 of Plaintiff’s Complaint.

   5. Defendant lacks knowledge or information sufficient to form a belief about the truth of

       the allegations contained in paragraph 5 of Plaintiff’s Complaint.

   6. Defendant lacks knowledge or information sufficient to form a belief about the truth of

       the allegations contained in paragraph 6 of Plaintiff’s Complaint.

   7. Defendant lacks knowledge or information sufficient to form a belief about the truth of

       the allegations contained in paragraph 7 of Plaintiff’s Complaint.
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8. Defendant lacks knowledge or information sufficient to form a belief about the truth of

   the allegations contained in paragraph 8 of Plaintiff’s Complaint.

9. Defendant lacks knowledge or information sufficient to form a belief about the truth of

   the allegations contained in paragraph 9 of Plaintiff’s Complaint; however, Defendant

   admits that he was on duty on January 18, 2007.

10. Defendant denies the allegations contained in paragraph 10 of Plaintiff’s Complaint.

11. Defendant lacks knowledge or information sufficient to form a belief about the truth of

   the allegations contained in paragraph 11 of Plaintiff’s Complaint.

12. Defendant lacks knowledge or information sufficient to form a belief about the truth of

   the allegations contained in paragraph 12 of Plaintiff’s Complaint.

13. Defendant lacks knowledge or information sufficient to form a belief about the truth of

   the allegations contained in paragraph 13 of Plaintiff’s Complaint.

14. Defendant admits, denies and otherwise answers as set for in paragraphs 1 through 13.

15. Defendant denies the allegations contained in paragraph 15 of Plaintiff’s Complaint.

16. Defendant denies the allegations contained in paragraph 16 of Plaintiff’s Complaint.

17. Defendant denies the allegations contained in paragraph 17 of Plaintiff’s Complaint.

18. Defendant denies the allegations contained in paragraph 18 of Plaintiff’s Complaint.

19. Defendant admits, denies and otherwise answers as set for in paragraphs 1 through 18.

20. Defendant denies the allegations contained in paragraph 20 of Plaintiff’s Complaint.

21. Defendant denies the allegations contained in paragraph 21 of Plaintiff’s Complaint.




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       WHEREFORE Defendant prays that the Plaintiff recover nothing by way of her

complaint; that Defendant recover his costs and disbursements herein; and such other relief as

the court deems just and equitable.

       Dated at Sioux Falls, South Dakota, this 20th day of July, 2008.

                                                DAVENPORT, EVANS, HURWITZ &
                                                SMITH, L.L.P.



                                                 /s/ Mark F. Marshall
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                                  CERTIFICATE OF SERVICE

       Mark F. Marshall, one of the attorneys for Defendant, hereby certifies on this 20th day of

July, 2008, I caused the following document(s):

       ♦       Answer

to be filed electronically with the Clerk of Court through ECF, and that ECF will send an e-mail

notice of the electronic filing to the following:

               William J. Janklow
               JANKLOW LAW FIRM, PROF. L.L.C.
               1700 W. Russell Street
               Sioux Falls, SD 57104

               Attorneys for Plaintiff


Dated: 20 July 2008                                  /s/ Mark F. Marshall
                                                    Mark F. Marshall




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